UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

JOHN VIDUREK, et al.,

                                                  Plaintiffs,         NOTICE OF MOTION
                                                                         TO DISMISS
                          -against-
                                                                             1:18-CV-392
GOVERNOR ANDREW M. CUOMO, et al.,
                                                                             (MAD/CFH)
                                                Defendants.



       PLEASE TAKE NOTICE that upon the accompanying memorandum of law, the

Declaration of Michael G. McCartin (with Exhibit A), and all prior proceedings, on June 19,

2018 at 10:00 a.m., the Defendants will make a motion before the Hon. District Court Judge

Mae A. D’Agostino at the United States District Court, Northern District of New York, Albany,

New York, for an order dismissing this action in its entirety pursuant to F.R.C.P. Rule 12(b)(6).

Dated: Albany, New York
       May 16, 2018
                                                  s/ Michael    McCartin
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